        Case:17-11810-MER Doc#:62 Filed:11/30/17                              Entered:12/01/17 00:58:43 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 17-11810-MER
Judith Jean Schneider                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: cosior                       Page 1 of 1                          Date Rcvd: Nov 28, 2017
                                      Form ID: trc                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 30, 2017.
17617942        CitiFinancial Servicing LLC,   P.O. Box 6043,   Sioux Falls, SD 57117-6043

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 30, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 27, 2017 at the address(es) listed below:
              Adam M Goodman    mail@ch13colorado.com, agoodman13@ecf.epiqsystems.com
              Chapter 13 Trustee - Zeman    on behalf of Trustee Sally Zeman mail@ch13colorado.com
              Michael J. Watton    on behalf of Debtor Judith Jean Schneider wlgdnvr@wattongroup.com
              Thomas A. Arany    on behalf of Debtor Judith Jean Schneider jdrewicz@wattongroup.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 5
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2100 B (12/15)


                                       United States Bankruptcy Court
                                                         District of Colorado
                                                       Case No. 17-11810-MER
                                                             Chapter 13

In re: Debtor(s) (including Name and Address)

Judith Jean Schneider
4316 East 113th Place
Thornton CO 80233



                        NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

The Claim(s) listed below was/were filed or deemed filed under 11 U.S.C. § 1111(a) in this
case by the alleged transferor. As evidence of the transfer of that claim, the transferee filed a
Transfer of Claim Other than for Security in the clerk’s office of this court on 11/27/2017.



Name and Address of Alleged Transferor:                                                  Name and Address of Transferee:
Claim No. 5: CitiFinancial Servicing LLC, P.O. Box 6043, Sioux Falls, SD 57117-6043      Wilmington Savings Fund Society, FSB, et al
                                                                                         c/o Carrington Mortgage Services, LLC
                                                                                         1600 South Douglass Road
                                                                                         Anaheim, CA 92806




                                       -- DEADLINE TO OBJECT TO TRANSFER --
The alleged transferor of the claim is hereby notified that objections must be filed with the court within
twenty-one (21) days of the mailing of this notice. If no objection is timely received by the court, the
transferee will be substituted as the original claimant without further order of the court.


Date:     11/30/17                                                Kenneth S. Gardner
                                                                  CLERK OF THE COURT
